Case 1:19-mc-00067-UNA Document 2 Filed 05/10/19 Page 1 of 1

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia

Recording Industry Association of America, Inc.

 

 

 

Gay Case: 1:19-mc-00067
v. ) Assigned To : Unassigned
Namecheap ) Assign. Date : 5/10/2019
-- is Description: Misc.

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Namecheap, 4600 East Washington Street, Suite 305, Phoenix, AZ 85034

 

 

(Name of person to whom this subpoena is directed)

a4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:Information sufficient to identify the alleged infringer of the sound recordings described in the attached
notification. This would include the individual's name, physical address, IP address, telephone number, e-mail
address, payment information, account updates and account history.

 

Place: Recording Industry Association of America, Inc., 1025 F | Date and Time:
Street NW, 10th Floor, Washington, DC 20004, 05/17/2019 5:00 pm
antipiracy@riaa.com

 

©) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

nn / : Date and Time: - |

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

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pate: SLiONA ANGELA D. CAESAR
CLERK OF COURT

ed a

 

spare af Clerk or Deputy Clerk : Attorney 's signature

 

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The name, address, e-mail address, and telephone number of the attorney representing (name of party)

__, who issues or requests this subpoena, are:

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
